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                     UNITED STATES DISTRICT COURT

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                     SOUTHERN DISTRICT OF GEORGIA


                           STATESBORO DIVISION                 "'fin nn .-      n.
                                                                                9: 56

UNITED STATES OF AMERICA,

              Plaintiff,

V.                                    6:06CR26


STEVE GORDON,

              Defendant.



                                 ORDER


      This case is before the Court for a preliminary hearing

pursuant to Rule 32.1, Fed. R. Crira. P., to determine whether there

is probable cause to hold the defendant for a revocation hearing.

Based on the evidence presented at the hearing, the Court finds

that there is probable cause to believe that the defendant has

violated conditions of his supervised release and, therefore, that

he should be held for a revocation hearing before the Court holding

jurisdiction over this matter.

      Based on the evidence presented at the hearing, the Court

finds that the probationer is likely to flee or pose a danger to

the community if released pending further proceedings.                Fed. R.

Crim. P. 46(c); 18 U.S.C. 3143.          IT IS HEREBY ORDERED that the

defendant be held in custody pending the revocation hearing.

      SO ORDERED this 3rt^dav of June, 2017.


                                 UNITED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
